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                    United States Court of Appeals for the Second Circuit
                            Thurgood Marshall U.S. Courthouse
                                                                                                   Jun 16 2023
                                      40 Foley Square
                                    New York, NY 10007

DEBRA ANN LIVINGSTON                                            CATHERINE O'HAGAN WOLFE
CHIEF JUDGE                                                     CLERK OF COURT

Date: June 16, 2023                                             DC Docket #: 22-cv-10016
Docket #: 23-793cv                                              DC Court: SDNY (NEW YORK
Short Title: Carroll v. Trump                                   CITY)
                                                                DC Judge: Kaplan




                          INITIAL NOTICE OF STAY OF APPEAL



A notice of appeal was filed in this case on May 11, 2023. Since at least one motion cited in
FRAP 4(a)(4), has been filed in the Southern District of New York this appeal is stayed pending
resolution of the motion(s).

Appellant is directed to inform this Court in writing of the status of the motion(s) at 30 day
intervals beginning 30 days from the date of this notice, and within 14 days after final disposition
of the last outstanding motion. Appellant is also directed to provide the Court with a copy of all
dispositive orders.

Inquiries regarding this case may be directed to 212-857-8539.
